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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS

    JOHN DOE,
                  Plaintiff
          v.                                                 Civil Action No: 1:19-cv-11626-DPW

    TRUSTEES OF BOSTON COLLEGE,
                  Defendant

                MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION
                     TO DISMISS THE AMENDED COMPLAINT

                                               RELEVANT FACTS

        A.       The Complaint of Sexual Assault Against Doe

        On November 7, 2018, a female BC student (“Jane Roe”) reported to an Associate Dean

that John Doe had engaged in sexual contact with her, including vaginal penetration with his

penis, without her consent. Amended Complaint (“AC”) ¶ 114. On December 7, Roe told the

Associate Dean that she wanted to go forward with a formal complaint against Doe. Id. ¶ 116.

On December 14, the Associate Dean met with Doe and informed him of Roe’s allegations. Id.

¶¶ 42, 120. On January 23, 2019, Doe received formal, written notice that Roe accused him of

“engaging in non-consensual sexual contact through kissing and touching of intimate body parts

and penetrating her vagina with [his] penis without her consent while [she] was incapacitated,”

which, if established, would be a violation of the Sexual Misconduct Policy in the Code of

Student Conduct. Id. ¶¶ 123-24.

        Roe’s complaint was addressed pursuant to BC’s 2018-2019 Student Sexual Misconduct

Policy, which was incorporated in the Student Guide. Ex. A; Ex. B at 2; Ex. C at 5.1 The Policy



1
  Exhibits are to the Declaration of Elizabeth H. Kelly, Dkt. No. 51. The Policy and Student Guide are cited
throughout the Complaint and thus are properly before the Court. See Ironshore Specialty Ins. Co. v. United States,
871 F.3d 131, 135 (1st Cir. 2017).

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prohibits students from engaging in sexual conduct with a person without that person’s “clear

and voluntary agreement to engage in particular sexual activity, communicated through mutually

understandable words or actions.” Ex. A at 5. The Policy goes on to state:

            Consent is always freely informed and actively given. Silence or lack of
            resistance cannot be assumed to imply consent. Consent must be ongoing, and
            it may be withdrawn at any time. Consent for one sexual act does not imply
            consent for any subsequent sexual activity. … Consent cannot be obtained
            from an individual who is incapable of giving consent because the person …
            [i]s incapacitated, including through the consumption of alcohol or drugs. Id.

       B.      The Investigation

       Pursuant to the Policy, complaints of sexual assault are investigated by one or more

internal or external investigators who are trained in sexual misconduct investigations. Ex. A at

11-12. The investigators interview the complainant and the respondent, interview other

witnesses with relevant information, and otherwise gather any relevant evidence. Id. at 13. The

complainant and respondent each have the opportunity to present written statements, review and

comment on the investigators’ summaries of their own interviews, identify any relevant

witnesses, submit any relevant evidence, review the evidence collected by the investigators, and

provide written comments on that evidence before the investigators reach a final determination.

Id. The investigators then issue a final report, which includes their determination as to whether

the respondent engaged in conduct which violates the Sexual Misconduct Policy, using the

preponderance of the evidence standard. Id. at 12-13.

       The final report is provided to the Title IX Coordinator and the Office of the Dean of

Students for review and approval and, if a violation has been found, a determination of the

appropriate sanction(s). Id. at 13. The complainant and respondent each have the right to appeal

the outcome on the basis that either a material procedural violation or information previously

unavailable to the appealing party likely would have affected the outcome. Id. at 14; Ex. B at 7.


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           The Student Guide provides that students involved in conduct proceedings have the “right

to a fair procedure, which is appropriate to the circumstances,” Ex. C at 2, and ensures

“fundamental fairness to the complainant and to the respondent.” Ex. B at 2; AC ¶ 197.

           An assistant dean at BC and an external investigator were assigned to conduct an

investigation and determine whether the evidence supported a finding that Doe engaged in non-

consensual sexual activity with Roe. AC ¶¶ 122-24. The investigators conducted multiple

interviews of both Roe and Doe, interviewed 16 other witnesses, and reviewed text messages and

other evidence. Id. at ¶¶ 122, 128, 130, 134; see also Ex. D a 3-9.2 Doe had the assistance of

counsel throughout the investigation. Id.; AC ¶ 128. At all times during the investigation,

including his interviews with the investigators, Doe had the opportunity to offer evidence, submit

written statements, identify witnesses who might be helpful to his case, and suggest lines of

inquiry for Roe and other witnesses. AC ¶¶128-36; Ex. A at 12-13.3

           At the end of the investigation, the investigators prepared a binder of all the evidence

they collected, including summaries of all interviews, which was made available to Roe, Doe,

and Doe’s attorney. AC ¶¶ 138-39; Ex. D at 8-9. Doe submitted a lengthy response, including

detailed arguments about Roe’s account of the events and her credibility. Ex. D at 9; AC ¶¶ 140-

41. After reviewing Doe’s comments, the investigators completed their report. AC ¶¶ 141-44.

           C.       The Investigators’ Findings

           The investigators summarized their findings, including the accounts offered by Roe and

Doe, in relevant part as follows:

           At around 1:30 a.m. on November 4, 2018, Doe encountered Roe at a “late night” dining


2
    The investigation report is referenced throughout the Complaint and thus is properly before the Court. See note 1.
3
  The opportunity to suggest witnesses to be interviewed inherently includes the opportunity to suggest questions for
those witnesses. Doe alleges he was not permitted an opportunity to suggest questions of the witnesses. AC, ¶¶
145-46. He does not allege that he submitted or suggested any questions but was rebuffed.

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facility on campus and joined her in line to get food. Ex. D at 21.4 Roe, Doe, and some of Doe’s

friends went to Doe’s suite; after Doe’s friends left, Roe and Doe went into his room. Id. at 32.

        Roe had been at a party drinking vodka that night and said that she had a fragmented

memory of what transpired in Doe’s room. Id. at 32. She recalled being on Doe’s bed and Doe

kissing her neck. Id. at 33. She acknowledged that she might have asked Doe to kiss her neck.

Id. Roe recalled that Doe took her shorts off and that she lifted her back so he could do so. Id.

When Doe tried to take off her underwear, she recalled “scooching up the bed” and saying, “No,

you don’t get to take my underwear off.” Id. Roe said she then realized that Doe was on top of

her and penetrating her vagina with his penis while she still had her underwear on. Id. She

recalled Doe telling her to flip over onto her stomach, but she did not recall if she did so. Id. at

34. Roe recalled that her head was turned to the side, Doe was on top of her, and she said,

“Stop” or “Stop, stop, can we stop?” Id. Roe recalled that Doe then said, “Oh no, something’s

wrong,” at which point he stopped penetrating her and jumped off the bed. Id.

        According to Doe’s version of the events, he and Roe were in bed “grinding” against

each other; she asked him to kiss her neck; she said, “I know you want to do it”; she told him to

“get a condom”; and they discussed why he had not put it on yet. Id. at 38, 39. Doe

acknowledged that Roe told him that he was not allowed to take off her underwear, but he said

that she then pulled her underwear to the side. Id. Doe said that he then put a condom on and

penetrated her vagina with his penis; during the penetration Roe said several things indicating

her consent; and they stopped having sex because Roe said her back hurt. Id. at 40-41.

        In his first interview, Doe said that he and Roe had no conversation immediately prior to

his penetration of her and that he did not recall Roe telling him to penetrate her. Id. In his


4
 Roe alleged that Doe put his arm around her waist and pulled her toward him while they were in line, without her
consent. Id. at 31. The investigators found that Doe reasonably believed Roe had consented to this. Id. at 32.

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second interview, Doe claimed to have said in his first interview that Roe said, “Do it” right

before he penetrated her. Id. at 40, 34 n.74. The investigators did not credit Doe’s account

based on their notes and their recollections of the first interview, as reflected in their written

summary of it, to which Doe had signed off. Id.

        On December 7, 2017, after Doe learned that Roe was considering a complaint against

him for nonconsensual sex, Doe and Roe met to discuss their encounter. Id. at 51-52. Before the

meeting, Doe texted Roe that he “just wanted to clear things up.” Id. at 51. It was undisputed

that during this conversation, Doe gave Roe “his take” on what happened, id. at 52, but in doing

so he never told Roe that she said, “Do it,” or “get a condom”; he did not claim that she pulled

her underwear to the side; he did not claim that she said “go slow” while he was penetrating her;

and he did not claim that she said her back hurt. Id. at 54.

       The investigators found that Roe was incapacitated at the time of the encounter as a result

of her drinking that night, but they also found that Doe did not know nor should he reasonably

have known that she was incapacitated. Id. at 56-58. The investigators found that Roe

communicated consent to certain aspects of her interaction with Doe, but that she never

expressed affirmative consent to Doe’s penetration of her. Id. at 58-62.

       Central to the investigators’ conclusion that Roe never communicated consent to

penetration was the fact, which Doe did not dispute, that Roe told Doe not to remove her

underwear. Id. at 59. Doe said he thought that meant only that Roe did not want him to see her

pubic hair, but the investigators credited Roe’s account that she did not care about that, and in

any event Doe’s inference about why Roe wanted him not to remove her underwear was not an

affirmative communication by Roe that she consented to penetration. Id. at 39, 59, 61. The

investigators also found it more likely than not that Roe never pulled her underwear to the side,

as she credibly stated that was not something she ever had done while having sex. Id. at 60-61.

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       The investigators also found it significant that Doe made several assertions that were

central to his defense only once the formal investigation was underway, and not in his earlier

meeting with Roe when they met to discuss what had happened, and that Doe’s story changed in

certain respects between his first and second interviews. Id. at 60-62. The investigators found it

was more likely than not that Roe did not say “Do it.” Id. at 60. They also found that whatever

conversation the parties had about a condom, which was unclear, was not sufficient to

demonstrate that Roe expressed affirmative consent to penetration. Id. at 60-61.

       After weighing all of the evidence, the investigators found it was more likely than not

that Doe had penetrated Roe without her “clear and voluntary agreement … communicated

through mutually understandable words or action,” and accordingly that he had committed

sexual misconduct in violation of BC’s Code of Conduct. Id. at 62.

       D.      The Sanction and Appeal

       The investigators’ report was reviewed and approved by BC’s Student Title IX

Coordinator and the Associate Dean of Students. AC ¶ 149. Doe was suspended for one year, to

be followed by one year of university probation. Id. at ¶ 152.

       Doe appealed, claiming there were several procedural errors in relation to the

investigation and findings and claiming there was new evidence that was previously unavailable

to him – i.e., one of Doe’s suitemates, whom the investigators had interviewed, had told Doe that

while he was in the common area of the suite, he “heard unambiguous signs of consensual sex”

coming from Doe’s room. Id. ¶¶ 153-55; see also Ex. E at 17.

       The appeal was reviewed by BC’s Vice President for Student Affairs. Id. ¶ 156. She

determined that Doe had not demonstrated any procedural error; rather, his procedural arguments

amounted to disagreements with the investigators’ determinations about the credibility of the

parties and the weight of the evidence. Id. at ¶ 157; Ex. F at 1-7. She also determined that Doe

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had not shown the “new” evidence was unavailable to him at the time of the investigation, in

light of the fact that the suitemate had been interviewed by the investigators with respect to his

observations during the events at issue, and in any event Doe had not shown that this “new”

evidence likely would have changed the outcome of the investigation. Id. at ¶ 158; Ex. F at 6.

                                            ARGUMENT

I.     THE COMPLAINT FAILS TO STATE A CLAIM.

       A.      Counts II and III – Breach of Contract and Basic Fairness

               1.      Standard of Review

       “[T]wo tests are relevant to Doe’s breach of contract claim” – whether BC complied with

its stated procedures as it would reasonably expect a student to understand them, and whether

those procedures afford “basic fairness.” Doe v. Trs. of Bos. Coll., Dkt. No. 55, slip op. at 11-12.

12-16 (1st Cir. Nov. 20, 2019) (citing Schaer v. Brandeis Univ., 432 Mass. 474, 482 (2000);

Cloud v. Trs. of Bos. Univ., 720 F.2d 721, 724-25 (1st Cir. 1983)); see also Walker v. Pres. &

Fellows of Harvard Coll., 840 F.3d 57, 61 (1st Cir. 2016) (quoting Schaer, 432 Mass. at 478);

Coveney v. Pres. & Trs. of Coll. of Holy Cross, 388 Mass. 16, 22 (1983). “Basic” or

“fundamental” fairness means notice of the allegations against the student, a meaningful

opportunity to be heard, and an outcome that is not arbitrary and capricious. Cloud v. Trs. of

Bos. Univ., 720 F.2d 721, 724-25 (1st Cir. 1983); Schaer, 432 Mass. at 478; Coveney, 388 Mass.

at 19; Driscoll v. Trs. of Milton Acad., 70 Mass. App. Ct. 285, 295 (2007). Private educational

institutions must also be afforded appropriate deference in relation to the procedures they adopt

for addressing allegations of student misconduct. See Doe v. Trs. of Bos. Coll., Dkt. No. 55, slip

op. at 12-16 (citing Schaer, 432 Mass. at 482; Coveney, 388 Mass. at 22); see also Havlik v.

Johnson & Wales Univ., 509 F.3d 25, 35 (1st Cir. 2007); Russell v. Salve Regina Coll., 890 F.2d

484, 489 (1st Cir. 1989), rev’d on other grounds, 499 U.S. 225 (1991).

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          Where, as in this case, a university’s procedures contain an explicit promise of

“fundamental fairness,” any implied promise of “basic fairness … becomes superfluous and the

court’s [determination whether] the disciplinary proceedings were ‘conducted with basic

fairness’… focuses on assuring compliance with the express contractual promise” – i.e., whether

the university substantially complied with its stated policies. Doe v. Trs. of Bos. Coll., Dkt. No.

55, slip. op. at 15, n.6 (quoting Doe v. Trs. of Bos. Coll., 892 F.3d 67, 88 (1st Cir. 2018)); see

also Doe v. Vanderbilt Univ., No. 3:18-CV-00569, 2019 WL 4748310, at *15 (M.D. Tenn. Sept.

30, 2019) (the “implied covenant of good faith and fair dealing creates a duty to provide basic

fairness,” which the university meets “by complying with the terms of [its stated policies for

student conduct proceedings], that are designed to be fair”); Doe v. Trs. of Univ. of Penn., 270 F.

Supp. 3d 799, 812 (E.D. Pa. 2017) (“promises of ‘fairness’ do not give rise to ‘fairness’

obligations that are independent of, and separate from, the obligations imposed by the more

specific provisions in the Disciplinary Procedures, which themselves describe proceedings

designed to be ‘fair’”); Fellheimer v. Middlebury Coll., 869 F. Supp. 238, 244 (D. Vt. 1994)

(same).

          A university’s obligation to provide “basic” or “fundamental” fairness accordingly is

satisfied as long as the university complies with its procedures and those procedures afford the

student notice of the charges against him and the opportunity to present his defense – giving no

regard to arguments that different or additional procedures were needed to afford “basic

fairness.” See Doe v. Trs. of Bos. Coll., 892 F.3d at 80-82, 82-83, 88-89 (rejecting arguments

that the dean’s office should have conducted a “threshold investigation,” the university police

should have conducted an investigation, the hearing panel should have received “investigatory

training,” and a hearing schedule should have been handled differently – because all of these

were arguments for procedures different from those the university adopted).

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               2.      Doe’s Contract and Fairness Claims All Fail as a Matter of Law.

                       a.      Doe was not entitled to confront and cross-examine Roe.

       Doe claims BC deprived him of “basic fairness” because its procedures did not afford

him the opportunity to confront or cross-examine Roe and other witnesses. AC ¶¶ 261-69. On

appeal from the order granting Doe a preliminary injunction in this case, the First Circuit rejected

that argument. Doe v. Trs. of Bos. Coll, Dkt. No. 55, slip op. at 12-16. The First Circuit also

rejected Doe’s argument, advanced for the first time on appeal, that he had a “reasonable

expectation” under the contract that there would be some opportunity for cross-examination of

Roe. Id. at 11-12.

                       b.      BC provided adequate notice to Doe.

       Doe claims BC failed to provide adequate notice of the charges against him because the

written notice focused on Roe’s alleged incapacitation and failed to put him on notice of the need

to defend himself against a claim of nonconsensual sex regardless of incapacitation. AC ¶¶ 241-

260. Id. The written notice undercuts his claim completely. It provides the details of Roe’s

allegation – that Doe engaged in “non-consensual sexual contact through kissing and touching of

intimate body parts and penetrating [Roe’s] vagina with [his] penis without [her] consent while

[she] was incapacitated.” Id. ¶ 124. The notice was not limited to the allegation that consent

was absent solely because Roe was incapacitated. It said that Doe allegedly engaged in sexual

contact with Roe “without her consent while [she] was incapacitated” (emphasis added), not that

Doe engaged in sexual contact “without her consent because [she] was incapacitated.”

       It also is clear from the investigative report that Doe knew Roe’s consent was at issue,

regardless of her alleged incapacitation. Doe offered the investigators evidence of what he

claimed were affirmative expressions of Roe’s consent, including her alleged statements “Do it”

“go slow,” etc. Ex. D at 61.

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                       c.     Doe had no right to review the evidence until it was assembled.

       Doe claims BC breached its obligation of fairness because he was not permitted to review

the evidence until it all was assembled. AC ¶ 270-72. Doe cites no requirement in BC’s policies

that it provide him access to evidence before he was interviewed or contemporaneously as it was

gathered. The claim fails for that reason alone. Moreover, Doe and his attorney had access to all

the evidence and the opportunity to comment on it before the investigators made any findings or

prepared their final report. Ex. D at 8-9. The process was fair and consistent with BC’s policy.

                       d.     Doe was not denied an “effective” appeal.

       Doe claims he was denied the right to an “effective” appeal because he could not appeal

on the basis that the investigators’ decision was not supported by the evidence or was “unfair,

unwise, or simply wrong.” AC ¶ 273 (citing Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 607

(D. Mass. 2016)). BC allows appeals only on the basis of a material procedural error or new

evidence which was not available to the appellant at the time of the original decision and which

likely would affect the outcome. Id. There is nothing unfair about that. See Doe v. Trs. of Bos.

Coll., 892 F.3d at 88 (in analyzing the fairness of student disciplinary proceedings, the court

limits it review to compliance with express contractual promises).

       Moreover, it is well-settled that even public universities need not afford students any

right to appeal a disciplinary decision. Winnick v. Manning, 460 F.2d 545, 549 n.5 (2d Cir.

1972); Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d 6, 14 (D. Me. 2005). Nor is there any

Massachusetts law requiring student disciplinary appeal boards or officials at private schools to

apply any particular level of review in appeals. See Doe v. Trs. of Bos. Coll, Dkt. No. 55, slip

op. at 12-16 (refusing to extend Massachusetts law to impose disciplinary procedures not

required by existing Massachusetts law and affording deference to the procedures the institution

adopted). It follows that when universities do provide for appeals, they can limit the grounds,

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and where an appeal can be made only on procedural grounds, a student has no expectation of a

review on the merits. Gomes, 365 F. Supp. 2d at 33.

       The Brandeis case on which Doe relies is easily distinguished. The student in that case

could appeal only on the basis of procedural error, but that was just one factor among many

Judge Saylor considered in determining that the plaintiff had been denied a fair process,

including, unlike in this case, that the plaintiff was not provided notice of the numerous

allegations against him, he was prevented from providing witnesses and evidence, he was denied

the assistance of an attorney, and he was not allowed to review the evidence against him until the

entire proceeding was over. 177 F. Supp. 3d at 604-07. It also is important to note that Brandeis

was decided before both of the Doe v. BC cases that have reached the First Circuit, and both

times the First Circuit has declined to cite Brandeis as a useful precedent on what constitutes

“basic fairness” under Massachusetts law.

       Doe also alleges that the appellate officer misapplied BC’s policy in denying his appeal.

AC ¶¶ 274-78. The letter denying Doe’s appeal recites and applies the correct standard, from

Section 5.6 of the Student Guide. Ex. F at 1, 6. The fact that the appellate officer, later in that

paragraph, referred to the evidence as having been “available” during the investigation, rather

than using the full phrase “available to the student,” is of no consequence, because it is

undisputed that the evidence in fact was “available” to Doe. Id. at 6. Doe knew that the

investigators had interviewed his suitemate; he had an opportunity to review the summary of his

suitemate’s testimony and comment on it; and he had every opportunity to speak with his

suitemate to make sure that he provided any evidence that might help his case. Ex. A at 6, 8-9,

42. The suitemate’s account was readily “available” to Doe, whether or not Doe collected it.

       Moreover, the appellate officer also found that Doe had failed to demonstrate that the

“new” evidence likely would have affected the outcome. Id. at 6. Doe’s appeal failed to include

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any actual statement from the suitemate, nor did it include any specifics as to what the suitemate

claimed to have heard. Ex. F at 6.5 Doe’s allegation that the decision was “unduly arbitrary and

irrational, or tainted by bias or other unfairness” is entirely conclusory. AC ¶ 279.

                           e.       Doe had no right to investigation separate from adjudication.

         Doe claims that BC’s investigative model for addressing complaints of sexual

misconduct is unfair because it fails to “separate out the investigation and adjudication

functions.” AC ¶¶ 283-91. This argument, like Doe’s other fairness arguments, is foreclosed by

the First Circuit’s decision in the first Doe v. Trs. of Bos. Coll. case, as well as its recent decision

in this case, because it argues for the adoption of procedures different from BC’s express

contractual promises; it seeks to extend Massachusetts law beyond established precedent; and it

fails to respect the deference owed to private institutions to choose their own procedures.6

         Doe also alleges that by using the term “for review and approval,” the policy called for

the “rubber stamping” of the investigation report by the Office of the Dean of Students and

Student Affairs Title IX Coordinator, denying Doe an opportunity for a meaningful review or

challenge. AC ¶ 288. Here, too, Doe fails to state a claim for breach of contract by arguing that

BC should have adopted procedures that in his view (or even the Court’s) might be “better” than

the ones it did adopt. As a matter of basic fairness, BC had no obligation to provide for any

“review” at all. The fact that BC’s procedures do not provide for a substantive review of the

investigators’ report accordingly is of no consequence.




5
 Doe’s Amended Complaint alleges for the first time that the witness told Doe he heard moaning from both parties
and heard Roe telling Doe not to ejaculate too quickly. AC ¶ 155.
6
  Combining investigative and adjudicative functions in a single person does not violate any principle of due process
in any event. See Withrow v. Larkin, 421 U.S. 35, 47-55 (1975); Pathak v. Dep’t of Veterans Affairs, 274 F.3d 28,
33 (1st Cir. 2001); Doe v. Miami Univ., 882 F.3d 579, 601 (6th Cir. 2018).

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                          f.      The investigation was thorough and impartial.

        Doe alleges in conclusory fashion that BC’s investigation was not thorough or impartial.

AC ¶¶ 199-204. His argument is not based upon any specific facts from which it could be

established that the investigation was not thorough (such as allegations that there was relevant

evidence the investigators failed to pursue) or that the investigators actually were not impartial

(such as statements by the investigators evidencing bias against him or in favor of Roe). Rather,

Doe’s claim is based merely on his disagreement with how the investigators weighed the

evidence, especially in relation to Roe’s credibility.

        The fact that the investigators made judgments about the evidence that are different from

what Doe would have preferred, or different from what another reviewer – or the Court – might

have made, is of course irrelevant. Such determinations are not subject to second-guessing in

court. See Doe v. Univ. of Dayton, 766 F. App’x 275, 288 (6th Cir. 2019) (investigator not

required to draw respondent’s preferred conclusions from the evidence); Doe v. Phillips Exeter

Acad., 2016 WL 6651310, *2 (D.N.H. Nov. 10, 2016) (It is not the court’s role to conduct an

“appellate review of the investigator’s factual findings and conclusions.”).7

        Doe also contends that the appellate officer was not “thorough” when she declined to

require the investigators to re-interview his suitemate. AC ¶ 202. As the appellate officer

correctly noted, however, Doe failed to specify in his appeal what evidence of consent the

witness would provide. Ex. F at 6. Moreover, as the appellate officer also noted, this witness

already had been interviewed by the investigators about what he saw and heard on the night in

question, and he had failed to provide any information about supposed “signs of consent” at that



7
 See also Doe v. Brown Univ., 210 F. Supp. 3d 310, 313 (D.R.I. 2016); Doe v. Univ. of the South, 687 F. Supp. 2d
744, 755 (E.D. Tenn. 2009); Gomes, 365 F. Supp. 2d at 14; Morale v. Grigel, 422 F. Supp. 988, 1004-05 (D.N.H.
1976); Schaer, 432 Mass. at 479 n.9; cf. Doe v. Univ. of Denver, No. 16-CV-00152-PAB-KMT, 2018 WL 1304530,
at *11 (D. Colo. Mar. 13, 2018); Yu v. Vassar Coll., 97 F. Supp. 3d 448, 462 (S.D.N.Y. 2015).

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time. Id. Doe now claims the suitemate told him that he did not disclose the information to the

investigators because they questioned him in a “hostile” manner and he feared getting into

trouble, AC ¶ 202 n.7, but Doe said nothing to that effect in his appeal and thus these new

allegations do not demonstrate any lack of thoroughness by the appeals officer.

       Doe has provided no facts to support his claim that the investigation was not impartial.

Such conclusory allegations are insufficient to overcome the presumption of honesty and

integrity on the part of university decision-makers. See Doe v. Trs. of Bos. Coll., 892 F.3d at 84;

Pathak, 274 F.3d at 33 (citing Withrow, 421 U.S. at 47).

                       g.      The investigators applied the correct standard of review.

       Doe claims the investigators failed to apply the preponderance of evidence standard. AC

¶¶ 205-13. Here, too, Doe’s claim is merely one of disagreement with the investigators’

assessments of the evidence, including their assessments of credibility, which is not the basis for

a breach of contract claim. Doe’s claim rests entirely on his own account of the events at issue,

ignoring the fact that the investigators did not credit significant aspects of his account, as well as

other evidence that supported Roe’s account. Id. ¶ 211; Ex. D at 59-62. His arguments also fail

to appreciate the Sexual Misconduct Policy’s strict requirement of affirmative consent, which

must be “clearly” communicated. Ex. A at 5.

                       h.      BC did not violate any obligation of confidentiality.

       Section 5 of the Student Guide requires “all parties” to a sexual misconduct proceeding to

maintain the confidentiality of the process. Ex. B, at § 5.7.2. Doe claims BC approved of Roe’s

“violation of confidentiality” when she reported to a university official that Doe had sex with her

without her consent. AC ¶¶ 214-19. Doe admits that at the time Roe made this report, she had

not yet made a formal complaint. Id. ¶¶ 113-16. There were no “parties” to a student conduct

proceeding, and thus Roe had no obligation of confidentiality, at that point. Moreover, it is self-

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evident that a university such as BC should not seek to prevent a sexual assault victim from

reporting an assault to responsible university personnel, nor rebuke a victim for doing so.

                      i.      BC did not breach its obligation to presume Doe was innocent.

       Doe claims BC failed to presume he was innocent. AC ¶¶ 220-25. Doe’s claim rests on

nothing but a conclusory allegation that the investigators were biased against him from the

outset. See id. As explained above, such conclusory allegations fail as a matter of law.

                      j.      BC had no obligation to complete the investigation in 60 days.

       Doe complains the investigation took longer than 60 days to complete, allegedly in

violation of BC’s policy. AC ¶¶ 226-33. The policy says only that BC “will endeavor to

complete the investigation within 60 working days of [its] commencement” and that “this

timeframe may be extended to ensure the integrity and completeness of the investigation.” Ex. A

at 12. Doe makes no claim that BC did not “endeavor” to timely conduct the investigation;

rather, he just complains that it took longer than he would have liked, AC ¶¶ 226-33,

notwithstanding the numerous interviews that had to be conducted; the large amount of evidence

that needed to be gathered and analyzed; and the impact of holidays and exam periods, which,

the Policy recognizes as reasons to extend the time to complete an investigation. Ex. A at 12.

       B.      Count IV - Estoppel

       Doe’s promissory estoppel claim is duplicative of his breach of contract claims and fails

for the same reasons. Moreover, where, as in this case, a written contract governs a matter,

recovery under a quasi-contract theory is not available. Doe v. Brown Univ., 166 F. Supp. 3d

177, 196 (D.R.I. 2016); Doe v. Brandeis Univ., 177 F. Supp. 3d at 612-13; Trent Partners &

Assocs. Inc. v. Digital Equip. Corp., 120 F. Supp. 2d 84, 104-05 (D. Mass. 1999).

       C.      Count I - Title IX

       Doe alleges that BC discriminated against him on the basis of gender in violation of Title

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IX, asserting the theory of “erroneous outcome.” AC ¶¶ 168-90. A student making this claim

has to show that he was innocent but wrongly found to have committed an offense and that

gender was a motivating factor in the erroneous finding. See Doe v. Colgate Univ., 760 F. App’x

22, 30 (2d Cir. 2019); Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994); accord Doe v. Trs.

of Bos. Coll., 892 F.3d at 90. Doe can show neither.

       As explained above, there are no procedural irregularities that cast any articulable doubt

on the validity of the investigators’ findings. See Doe v. Univ. of the Sciences, No. CV 19-358,

2019 WL 3413821, at *5 (E.D. Pa. July 29, 2019) (rejecting similar claims of procedural

irregularities). Nor has Doe alleged facts to establish a causal connection between the allegedly

flawed outcome and gender bias. To be actionable under Title IX, allegations of bias must

pertain to the specific individuals involved in the disciplinary proceeding at issue. See Doe v. W.

New England Univ., 228 F. Supp. 3d 154, 188-189 (D. Mass. 2017) (citing Mallory v. Ohio

Univ., 76 F. App’x 634, 640 (6th Cir. 2003)); see also Yusuf, 35 F.3d at 715; Doe v. Vanderbilt

Univ., 2019 WL 4748310, at *8; Doe v. Case Western Reserve Univ., No. 1:17 CV 414, 2019

WL 1982266, *9, 11 (N.D. Ohio May 2, 2019); Doe v. Univ. of Denver, 2018 WL 1304530, at

*11. Doe, however, has not alleged any statements, nor any other evidence, evidencing anti-

male bias on the part of the investigators or the individuals who determined his sanction.

       Nor is Doe’s Title IX claim supported by his conclusory allegations that the Department

of Education and others have “pressured” BC and other universities to actively pursue

allegations of sexual assault on campus. AC ¶¶ 19-36. However, this supposed “pressure” to

take campus sexual assault seriously is gender-neutral – it does not include any alleged

“pressure” to treat men differently on the basis of their gender. See Doe v. Trs. of Bos. Coll., 892




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F.3d at 92.8 Courts repeatedly have rejected conclusory allegations of pressure when, as in this

case, there is no evidence that outside pressure actually influenced the school to aggressively

pursue sexual assault cases in a biased manner. See, e.g. Doe v. Vanderbilt Univ., 2019 WL

4748310, at *9 (quoting Doe v. Baum, 903 F.3d 575, 586 (6th Cir. 2018) (“[E]xternal pressure

alone is not enough; rather, external pressure ‘combined with other circumstantial evidence of

bias in [a complainant’s] specific proceeding’ is what makes a claim plausible.”); Ruff v. Bd. of

Regents of Univ. of New Mexico, 272 F. Supp. 3d 1289, 1302 (D.N.M. 2017); Doe v. Columbia

Coll. Chicago, 299 F. Supp. 3d 939, 956 (N.D. Ill. 2017); Doe v. Univ. of Colo., Boulder through

Bd. of Regents of Univ. of Colo., 255 F. Supp. 3d 1064, 1078 (D. Colo. 2017).

        Doe’s allegation that only males have been suspended or expelled for sexual assault at

BC, AC ¶ 186, also does not show bias. See Doe v. Trs. of Bos. Coll., 892 F.3d at 92 (“The

gender of the students accused of sexual assault is the result of what is reported to the University,

and not the other way around.”). Nor is Doe’s claim supported by the allegation that BC adopted

an investigator model to “mak[e] the reporting of assaults more easily available.” AC ¶ 37.

Sexual assault victims can be male or female, and taking steps to “make reporting easier” or

otherwise to enforce sexual misconduct rules does not evidence anti-male bias. See Austin v.

Univ. of Ore., 205 F. Supp. 3d 1214, 1227 (D. Ore. 2016), aff'd, 925 F.3d 1133 (9th Cir. 2019);

Z.J. v. Vanderbilt Univ., 355 F. Supp. 3d at 684; Doe v. Univ. of Cincinnati, 173 F. Supp. 3d 586,

602 (S.D. Ohio 2016).

        D.       Count V - Negligence

        Doe’s claim that BC was negligent in conducting an inadequate investigation, AC ¶¶

299-300, is barred by the First Circuit’s decision in Doe v. Trs. of Bos. Coll., 892 F.3d at 94-95


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 Doe claims one aspect of this “pressure” is the Department of Education’s 2011 “Dear Colleague” Letter, AC ¶¶
19-36, but the Department withdrew that Letter before the investigation in Doe’s case. Id. ¶¶ 45-47.

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(universities owe no duty in tort with respect to student conduct proceedings). Doe’s claim for

negligent training and supervision, AC ¶¶ 301-02, fails because he does not allege that BC knew

or should have known that any relevant employee was “unfit” for her position. See Foster v. The

Loft, Inc., 26 Mass. App. Ct. 289, 289-91 (1988); see also Saldivar v. Racine, 818 F.3d 14, 21

(1st Cir. 2016); Vicarelli v. Bus. Int’l, Inc., 973 F. Supp. 241, 246 (D. Mass. 1997); Roe v. Ne.

Univ., No. CV 16-03335-C, 2019 WL 1141291, at *11 (Mass. Super. Mar. 8, 2019). Doe’s

negligence claim also fails because he did not suffer a physical injury or the threat of a physical

injury. See Doe v. Senechal, 66 Mass. App. Ct. 68, 76 (2006). Without a personal injury or any

property damage, Doe’s claim also is barred by the economic loss doctrine. Patriarca v. Ctr. for

Living & Working, Inc., No. 99689B, 1999 WL 791888, at *5, n.6 (Mass. Super. Sept. 8, 1999)

(doctrine applied to negligent supervision and retention claim).

II.    THE COURT SHOULD RETAIN SUPPLEMENTAL JURISDICTION.

       Should the Court dismiss Doe’s Title IX claim, it should retain supplemental jurisdiction

and dismiss the remaining state-law claims for the reasons stated above.

       Whether to exercise supplemental jurisdiction after the federal claim has been dismissed

is discretionary. See 28 U.S.C. § 1367(c)(3). In exercising that discretion, a court should

consider “comity, judicial economy, convenience, fairness, and the like.” Roche v. John

Hancock Mut. Life Ins. Co., 81 F.3d 249, 257 (1st Cir. 1996). While dismissal sometimes is

appropriate if all federal claims are eliminated early in the proceedings, “each case must be

gauged on its own facts” in a “pragmatic” manner. Id.

       It would be appropriate for the Court to retain jurisdiction in light of its significant

investment of time and resources in connection with the proceedings on the motion for

preliminary injunction, the motion to proceed pseudonymously, and the motion to seal, its

extensive review of redactions to the record, and its attention to the issues raised in this motion to

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dismiss. An additional factor in determining whether to exercise supplemental jurisdiction is “the

presence of novel or sensitive issues of state law.” Sexual Minorities Uganda v. Lively, 899 F.3d

24, 35 (1st Cir. 2018); see also 28 U.S.C. § 1367(c)(1). This case involves no such issues.

                                           Conclusion

        The Court should dismiss Plaintiff’s Amended Complaint.



                                             TRUSTEES OF BOSTON COLLEGE,

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                                     Certificate of Service

        I certify that on November 21, 2019, this document was filed through the ECF System of
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                                                    /s/Elizabeth H. Kelly
                                                     Elizabeth H. Kelly




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